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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
VS.                                              §            CASE NO. 9:11-CR-32(4)
                                                 §
                                                 §
CRYSTAL LEANN KEISLER                            §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter is referred to the undersigned United States

Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

       On September 29, 2011, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the Defendant, Crystal Leann Keisler, to Count Fifty-four (54) of

the Indictment. Count Fifty-four of the Indictment alleges that on September 9, 2010, Crystal Leann

Keisler did knowingly and intentionally possess pseudoephedrine, a List 1 chemical, with intent to

manufacture a controlled substance, or with knowledge or reasonable cause to believe that the listed

chemical would be sued for the unauthorized manufacture of a controlled substance, namely a

mixture or substance containing detectable amount of methamphetamine, in violation of 21 U.S.C.

841(c)(1) and (c)(2) (Possession of a List 1 Chemical).

       Defendant, Crystal Leann Keisler, entered a plea of guilty to Count Fifty-four of the



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Indictment into the record at the hearing. After conducting the proceeding in the form and manner

prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:

         a.        That Defendant, after consultation with her attorney, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

         b.        That Defendant and the Government have entered into a plea agreement which was

disclosed and addressed in open court, entered into the record, and placed under seal. Defendant

verified that she understood the terms of the plea agreement, agreed to the Government’s summary

of the plea agreement, and acknowledged that it was her signature on the plea agreement. To the

extent the plea agreement contains recommendations and requests pursuant to FED . R. CRIM . P. 11

(c)(1)(B), the court advised the Defendant that she has no right to withdraw the plea if the Court does

not follow the particular recommendations or requests. To the extent that any or all of the terms of

the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised Defendant that

she will have the opportunity to withdraw her plea of guilty should the Court not follow those

particular terms of the plea agreement.1

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           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant that
the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . R. C RIM . P. 11(c)(3)-(5).

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        c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally in

open court, the undersigned determines that Defendant’s plea is knowing and voluntary and did not

result from force, threats or promises (other than the promises set forth in the plea agreement). See

FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing and voluntary plea is supported by an independent factual

basis establishing each of the essential elements of the offense and Defendant realizes that her

conduct falls within the definition of the crimes charged under 21 U.S.C. § 841(c)(2).

                                  STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis. See

Factual Basis and Stipulation. In support, the Government would prove that Crystal Leann Keisler

is one and the same person charged in the Indictment and that the events described in the Indictment

occurred in the Eastern District of Texas and elsewhere. The Government would also have proven,

beyond a reasonable doubt, each and every essential element of the offense as alleged in Count Fifty-

four of the Indictment through the testimony of witnesses, including expert witnesses, and admissible

exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence

described in detail in the factual basis and stipulation, filed in support of the plea agreement.

        Defendant agreed with and stipulated to the evidence presented in the factual basis. Counsel

for Defendant and the Government attested to Defendant’s competency and capability to enter an

informed plea of guilty. Defendant agreed with the evidence presented by the Government and

personally testified that she was entering her guilty plea knowingly, freely and voluntarily.



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                              RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned determines

to be supported by an independent factual basis establishing each of the essential elements of the

offense charged in Count Fifty-four of the Indictment. It is also recommended that the District Court

defer accepting the plea agreement until the District Court has reviewed the presentence report.

Accordingly, it is further recommended that Defendant, Crystal Leann Keisler , be finally adjudged

guilty of the charged offense under Title 21, United States Code, Sections 841(c)(2).

       The District Court should defer its decision to accept or reject the plea agreement until there

has been an opportunity to consider the presentence report. If the plea agreement is rejected and

Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

Defendant than that contemplated by the plea agreement. Defendant is ordered to report to the

United States Probation Department for the preparation of a presentence report. Defendant has the

right to allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

safeguards afforded by Congress and the courts require that, when a party takes advantage of her


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right to object to a magistrate’s findings or recommendation, a district judge must exercise its

nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

(5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



     SIGNED this 2nd day of October, 2011.




                                                 _________________________
                                                 Zack Hawthorn
                                                 United States Magistrate Judge




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